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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,


 v.
                                                            Case No. 21-cr-3 (RCL)

 JACOB ANTHONY CHANSLEY,

        Defendant.


                                           ORDER

       As discussed at today's hearing on defendant's motion [12] to revoke the magistrate

judge's order of detention, the Clerk of Court is hereby DIRECTED to file the attached document

on the docket for this case. The attachment is an email from Sheriff Dana Lawhorne to the acting

U.S. Marshal Lamont Ruffin dated March 4, 2021. Sheriff Lawhorne's email forwards another

email from the Alexandria Sheriffs Office to defense counsel's law firm dated February 10,

2021 setting forth the U.S. Marshal's policy regarding media interview requests.

       It is SO ORDERED.



Date: March [" 2021                                         �C,�
              '
                                                           Hon. Royce C. Lamberth
                                                           United States District Judge




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